                 Case 22-11068-JTD          Doc 17665         Filed 06/14/24        Page 1 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Hearing Date: September 12, 2024 at 1:00 p.m. ET
                                                             Objection Deadline: July 5, 2024 at 4:00 p.m. ET



         SIXTH INTERIM FEE APPLICATION OF SULLIVAN & CROMWELL LLP

Name of Applicant                                         Sullivan & Cromwell LLP
Authorized to Provide Professional Services to:           Debtors and Debtors-in-Possession
Date of Retention:                                        January 20, 2023 nunc pro tunc to November
                                                          11, 2022
Period for which compensation and                         February 1, 2024 through April 30, 2024
reimbursement is sought:
Amount of interim fees to be approved as                  $26,877,397.90
reasonable and necessary:
Amount of interim expenses sought as actual,              $98,979.37
reasonable and necessary:
Total compensation paid to date:                          $186,521,592.12
Total expenses paid to date:                              $691,980.97
Total compensation paid for interim period:               $14,698,591.12
Total expenses paid for interim period:                   $81,225.18
Blended rate in this Application for all                  $1,508.04
attorneys
Blended rate in this Application for all                  $1,371.63
timekeepers
Number of professionals included in this                  230
Application

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



4886-6623-6613 v.2
                 Case 22-11068-JTD       Doc 17665        Filed 06/14/24   Page 2 of 8




Number of professionals not included in              0
staffing plan
If applicable, difference between fees               $38,655,927.10 under budget.
budgeted and compensation sought
for this period
Number of professionals billing fewer                73
than 15 hours to this Application
during this period
Any rates higher than those approved or              No.
disclosed at retention?

This is a(n) ____ monthly        x       interim     _____ final application




                                                   -2-

4886-6623-6613 v.2
                 Case 22-11068-JTD          Doc 17665         Filed 06/14/24        Page 3 of 8




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In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

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         SIXTH INTERIM FEE APPLICATION OF SULLIVAN & CROMWELL LLP

                     Sullivan & Cromwell LLP (“S&C”), counsel to FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), hereby submits this Sixth Interim Fee Application of Sullivan & Cromwell LLP (the

“Application”) for allowance of compensation for professional services rendered and

reimbursement of expenses incurred for the period from February 1, 2024 through and including

April 30, 2024 (the “Application Period”). In support the Application, S&C respectfully states

as follows:

                                                 Background

                     1.    On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,

the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their



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    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.



4886-6623-6613 v.2
                 Case 22-11068-JTD       Doc 17665       Filed 06/14/24    Page 4 of 8




properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

                     2.   On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”).

                     3.   On January 20, 2023, the Court entered the Order Authorizing

the Retention and Employment of Sullivan & Cromwell LLP as Counsel to the Debtors and

Debtors-in-Possession Nunc Pro Tunc to the Petition Date [D.I. 553], authorizing the retention

and employment of S&C as the Debtors’ counsel, nunc pro tunc to November 11, 2022.

                     4.   On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                     5.   On December 15, 2023, S&C filed the Notice of Change in Hourly Rates

of Sullivan & Cromwell LLP [D.I. 4780], providing notice of revised hourly rates of its

professionals in these Chapter 11 Cases, effective January 1, 2024.

                                              Jurisdiction

                     6.   The Court has jurisdiction to consider this Application pursuant to 28


                                                   -2-

4886-6623-6613 v.2
                 Case 22-11068-JTD       Doc 17665     Filed 06/14/24     Page 5 of 8




U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28

U.S.C. §§ 1408 and 1409. Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of

a final order or judgment by the Court in connection with this Application to the extent it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                          Relief Requested

                     7.   By this Application and in accordance with the Interim Compensation

Order, S&C seeks interim approval and allowance of its compensation for professional services

rendered and reimbursement of expenses incurred for the Application Period (the “Period

Compensation”), including authorization for the Debtors to pay the 20% holdback of fees as

provided under the Interim Compensation Order (the “Holdback”). S&C has filed and served

monthly fee applications covering the Application Period (collectively, the “Monthly Fee

Applications”). Each of the Monthly Fee Applications is incorporated by reference as if fully set

forth herein. For the avoidance of doubt, by this Application, S&C is seeking only allowance of

the Period Compensation previously set forth in the Monthly Fee Applications and payment of

the Holdback. Other than the Holdback, S&C is not requesting additional fees or expense

reimbursement above the Period Compensation.

                     8.   In accordance with the United States Trustee’s Guidelines For Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), this Application is

supported by the following exhibits:


                                                 -3-

4886-6623-6613 v.2
                 Case 22-11068-JTD          Doc 17665      Filed 06/14/24     Page 6 of 8




                     •      Exhibit A: a summary of compensation by each professional of S&C that
                            worked on the Chapter 11 Cases;

                     •      Exhibit B: a summary of compensation by project category;

                     •      Exhibit C: an expense summary;

                     •      Exhibit D: S&C’s customary and comparable compensation disclosures;

                     •      Exhibit E: the estimated budget and staffing plan for S&C for the
                            Application Period and

                     •      Exhibit F: the Certification of Andrew G. Dietderich in support of the
                            Application.

                                         Compensation Requested

                     9.     S&C seeks interim allowance of fees in the amount of $26,877,397.90 for

services rendered during the Application Period and reimbursement of expenses in the amount of

$98,979.37, which were incurred during the Application Period. In addition, S&C requests that

the Debtors be authorized to pay the $21,501,918.32 in fees representing the twenty percent

(20%) “holdback” of fees.

                     10.    The services performed by S&C during the Application Period included,

among others:

         •           the investigation into the scope and nature of customer entitlements on the
                     Petition Date and steps to resolving the myriad of novel issues in
                     connection with plan formation;

         •           work on various corporate workstreams, including tax, intellectual
                     property, asset security, human resources and global regulatory
                     compliance;

         •           work in connection with disputes with the Joint Provisional Liquidators in
                     both Australia and The Bahamas;

         •           the collection and organization of voluminous corporate records across
                     various traditional and non-traditional media of communications, the
                     collection of materials for discovery;

                                                     -4-

4886-6623-6613 v.2
                 Case 22-11068-JTD           Doc 17665       Filed 06/14/24     Page 7 of 8




         •           the provision of information to, and cooperation with requests by, global
                     law enforcement in connection with pending criminal investigations and
                     prosecutions;

         •           identification, recovery and monetization of billions of dollars of liquid
                     assets of the Debtors;

         •           the representation of the Debtors in four other large cryptocurrency
                     chapter 11 cases—Voyager Digital, Celsius Networks, BlockFi and
                     Genesis Digital, including settlements and mediations in connection with
                     the same;

         •           ongoing discussions with the Committee and other creditor constituents;

         •           the sales of various venture capital assets and other de minimis assets;

         •           discussions with the Committee, ad hoc committee and other interested
                     parties regarding the chapter 11 plan and related issues;

         •           the preparation, drafting and negotiation of the chapter 11 plan, the
                     disclosure statement and solicitation notices and ballots;

         •           the preparation, drafting and negotiation of the revised chapter 11 plan, the
                     revised disclosure statement and revised solicitation notices and ballots;

         •           the preparation for hearings regarding the estimation of digital assets;

         •           the preparation for two trials regarding the estimation of digital assets;

         •           the preparation, drafting and filing of certain causes of action, including
                     avoidance actions, against various parties and, and settlements and
                     mediations relating to the same and;

         •           the preparation of investigative summaries and public disclosure materials,
                     and related discussions with stakeholders.

                                                    Notice

                     11.    Notice of this Application has been provided to: (a) the U.S. Trustee,

(b) the Committee, (c) the Fee Examiner and (d) all parties required to be given notice in the

Interim Compensation Order. S&C submits that, in light of the nature of the relief requested, no

other or further notice need be provided.

                                                      -5-

4886-6623-6613 v.2
                 Case 22-11068-JTD        Doc 17665     Filed 06/14/24   Page 8 of 8




                                              Conclusion

                     WHEREFORE, S&C respectfully requests that the Court (i) approve the

Application and (ii) grant such further relief as is just and proper.

 Dated: June 14, 2024                           /s/ Andrew G. Dietderich
        New York, NY                            Andrew G. Dietderich
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                                                Brian D. Glueckstein
                                                Alexa J. Kranzley
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                                                Counsel to the Debtors and Debtors-in-Possession




                                                  -6-

4886-6623-6613 v.2
